       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 27, 2024



                                      NO. 03-24-00187-CR


                              Martin Antonio Cuellar, Appellant

                                               v.

                                  The State of Texas, Appellee




       APPEAL FROM THE 22ND DISTRICT COURT OF COMAL COUNTY
            BEFORE JUSTICES BAKER, SMITH, AND THEOFANIS
    DISMISSED FOR WANT OF JURISDICTION-- OPINION BY JUSTICE SMITH




This is an appeal from the judgment of conviction entered by the trial court. Having reviewed

the record, it appears that the Court lacks jurisdiction over this appeal. Therefore, the Court

dismisses the appeal for want of jurisdiction. Because appellant is indigent and unable to pay

costs, no adjudication of costs is made.
